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4
     Attorneys for Defendant,
5    YOUSEF NAZEM ALNAJAR

6
                                 IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                          Case No. 1:18-CR-00135-DAD-BAM
9
                    Plaintiff,
                                                        DEFENDANTS REQUEST AND WAIVER
10          vs.                                         OF APPEARANCE; ORDER

11   YOUSEF NAZEM ALNAJAR

12                  Defendant.

13

14      Defendant, YOUSEF NAZEM ALNAJAR, hereby waives his appearance in person in open

15   court upon the Status Conference set for Monday January 14, 2019 in Courtroom 8 of the above

16   entitled Court. Defendant hereby requests the court to proceed in his absence and agrees that his

17   interest will be deemed represented at said hearing by the presence of his attorney, H. TY

18   KHARAZI. Defendant further agrees to be present in person in Court at all future hearing dates set

19   by the Court including the dates for jury trial.

20   Dated: January 9, 2019.                        /s/ Yousef Nazem Alnajar
                                                    YOUSEF NAZEM ALNAJAR
21

22                                                  YARRA LAW GROUP

23   Dated: January 9, 2019.                        /s/ H. Ty Kharazi
                                                    H. TYK KHARAZI, Attorney for Defendant,
24                                                   YOUSEF NAZEM ALNAJAR

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1                                                 ORDER

2       GOOD CAUSE APPEARING,

3       IT IS HEREBY ORDERED that Defendant, YOUSEF NAZEM ALNAJAR is hereby excused

4    from appearing at this Court hearing scheduled for January 14, 2019.

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6    IT IS SO ORDERED.

7       Dated:    January 10, 2019                          /s/ Barbara A. McAuliffe   _
8                                                     UNITED STATES MAGISTRATE JUDGE

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